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                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE

United States of America

            v.                            Criminal No. 09-cr-41-(1/5)-JL

Sandy Rodriguez Brito et al


                                  O R D E R


      The partially assented to motion to reschedule jury trial

(document no. 22) filed by defendant is granted.               The continuance

is limited to 60 days.

      Defendant shall file a waiver of speedy trial rights within 10

days.   The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3161(h)(8)(B)(iv), for the

reasons set forth in the motion.

      SO ORDERED.



                                          _______________________________
                                          Joseph N. Laplante
                                          United States District Judge

Date:    April 23, 2009




cc:   Liam D. Scully, Esq.
      Richard F. Monteith, Jr., Esq.
      Patrick Shanley, Esq.
      Debra M. Walsh, Esq.
      Donald A. Feith, Esq.
      U.S. Marshal
      U.S. Probation
